  Case 18-14235-KHK                      Doc 5 Filed 12/28/18 Entered 12/29/18 00:26:10                                  Desc Imaged
                                              Certificate of Notice Page 1 of 5
Information to identify the case:
Debtor 1              Jason T Nickels                                                   Social Security number or ITIN        xxx−xx−5520
                      First Name   Middle Name   Last Name                              EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of Virginia
                                                                                        Date case filed for chapter 7 12/19/18
Case number:          18−14235−KHK


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                             About Debtor 1:                                        About Debtor 2:

1.     Debtor's full name                    Jason T Nickels

2.     All other names used in the
       last 8 years

3.     Address                               125 Stefaniga Rd
                                             Stafford, VA 22556

4.     Debtor's attorney                     Jeremy Calvin Huang                                    Contact phone 7033521900
       Name and address                      CHADWICK WASHINGTON, et al.                            Email: jhuang@chadwickwashington.com
                                             3201 Jermantown Rd.
                                             Suite 600
                                             Fairfax, VA 22030

5.     Bankruptcy trustee                    H. Jason Gold                                          Contact phone (202) 712−2800
       Name and address                      Nelson Mullins Riley & Scarborough LLP                 Email:
                                             101 Constitution Avenue, N.W.                          jason.gold@nelsonmullins.com
                                             Suite 900
                                             Washington, DC 20001
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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Debtor Jason T Nickels                                                                                        Case number 18−14235−KHK


6. Bankruptcy clerk's office                     200 South Washington Street                            For the Court:
                                                 Alexandria, VA 22314
    Documents in this case may be                                                        Clerk of the Bankruptcy Court:
    filed at this address. You may         Hours open Monday − Friday, 9:00 AM − 4:00 PM William C. Redden
    inspect all records filed in this case ET, except on holidays.
    at this office or online at                                                          Date: December 26, 2018
    www.pacer.gov.                         Contact phone 703−258−1200
    McVCIS 24−hour case
    information:
    Toll Free 1−866−222−8029

7. Meeting of creditors                          January 28, 2019 at 09:00 AM                           Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a         1725 Duke Street, Suite 520,
    questioned under oath. In a joint case,                                                             Alexandria, VA 22314
    both spouses must attend. Creditors may      later date. If so, the date will be on the court
    attend, but are not required to do so.       docket.


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or           Filing deadline: March 29, 2019
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of
                                                   the subdivisions of 11 U.S.C. § 727(a)(2)
                                                   through (7),
                                                   or
                                                 • if you want to have a debt excepted from
                                                   dischargeunder 11 U.S.C § 523(a)(2),
                                                   (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be
                                                   denied under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                      Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property       conclusion of the meeting of
                                                 as exempt. If you believe that the law does not        creditors
                                                 authorize an exemption claimed, you may file an
                                                 objection.

10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.
                                                                                                               For more information, see page 3 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 2
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Debtor Jason T Nickels                                                                                         Case number 18−14235−KHK


12. Exempt property                    The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                       sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                       may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe
                                       that the law does not authorize an exemption that the debtors claim, you may file an objection.
                                       The bankruptcy clerk's office must receive the objection by the deadline to object to
                                       exemptions in line 9.
13. Local Rule Dismissal               Case may be dismissed for failure to timely file lists, schedules and statements, or to attend
    Warning                            meeting of creditors. (Local Bankruptcy Rules 1007−1, 1007−3, and 2003−1.) Trustee may at
                                       the meeting give notice of intention to abandon property burdensome or of inconsequential
                                       value or intent to sell nonexempt property that has an aggregate gross value less than
                                       $2,500. Objections thereto must be filed pursuant to Local Bankruptcy Rules 6004−2 and
                                       6007−1.
14. Payment of Fees for                Exact Change Only accepted as of December 16, 2013, for payment of fees and services.
    Alexandria Case and                Payment may be made by non−debtor's check, money order, cashier's check made payable
    Adversary Filing and               to Clerk, U.S. Bankruptcy Court, or any authorized non−debtor's credit card.
    Miscellaneous Requests
Electronic bankruptcy notices are delivered faster than the U.S. Mail if you have a PC with Internet connection or a Fax machine.
For more information, go to bankruptcynotices.uscourts.gov or call, toll free: 877−837−3424. Case/docket information available
on Internet @ www.vaeb.uscourts.gov

ATTENTION DEBTORS: Receive your court notices and orders by email through the DeBN. Same−day delivery. Convenient
Access. Free. For more information and to download the request form, go to www.vaeb.uscourts.gov and select the Debtor
Electronic Bankruptcy Noticing link from the ATTENTION DEBTORS DeBN banner.
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      Case 18-14235-KHK         Doc 5 Filed 12/28/18 Entered 12/29/18 00:26:10                 Desc Imaged
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                                      United States Bankruptcy Court
                                      Eastern District of Virginia
In re:                                                                                  Case No. 18-14235-KHK
Jason T Nickels                                                                         Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0422-9           User: palaciosl              Page 1 of 2                   Date Rcvd: Dec 26, 2018
                               Form ID: 309A                Total Noticed: 36


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 28, 2018.
db             +Jason T Nickels,    125 Stefaniga Rd,    Stafford, VA 22556-6704
14654544       +ADD Advanced,    4660 Kenmore Ave,    Suite 810,    Alexandria, VA 22304-1300
14654548        ASE Physicians,    20010 Century Blvd,    Suite 200,    Germantown, MD 20874-1118
14654543       +Account Rcv Mgmt Svc,    2727 Philmount Ave, Suite 100,     Huntingdon Valley, PA 19006-5398
14654545       +Alexandria Advanced Dentistry,     4660 Kenmore Ave,    Suite 318,    Alexandria, VA 22304-1306
14654546        Alteon Health,    PO Box 826481,,    Philadelphia, PA 19182-6481
14654547       +Anthem,   PO Box 27401,    Richmond, VA 23279-7401
14654549        Assoc of Alexandria Radiology,     PO Box 79537,    Baltimore, MD 21279-0537
14654550       +Cashet,   175 W Jackson Blvd,     Suite 1000,    Chicago, IL 60604-2863
14654552        Comcast,   PO Box 3005,    Southeastern, PA 19398-3005
14654553       +Comprehensive Physician Rsc,    10716 Richmond Hwy # 204,     Lorton, VA 22079-2645
14654558       +Emergency Phy Assoc of PA,    c/o Midwest Recovery Systems,     PO Box 899,
                 Florissant, MO 63032-0899
14654559       +Fredericksburg Emergency Med,     c/o PMAB, LLC,    PO Box 12150,    Charlotte, NC 28220-2150
14654561        INOVA,   PO Box 37013,    Baltimore, MD 21297-3013
14654577       +Lineburger, Goggan, et al,    61 Broadway,    Suite 2600,    New York, NY 10006-2840
14654563       +Loudoun Medical Group,    224 D Cornwall St. NW,     Suite 403,    Leesburg, VA 20176-2704
14654564       +Mary Washington Healthcare,    2300 Fall Hill Ave, Suite 101,      Fredericksburg, VA 22401-3342
14654565       +Medical Imaging of Fredericksb,     1201 Sam Perry Blvd,    Suite 102,
                 Fredericksburg, VA 22401-4490
14654566        Medical Imaging of Lehigh,    PO Box 3226,    Allentown, PA 18106-0226
14654567       +Medstar,   10980 Grantchester Way,     Columbia, MD 21044-6108
14654570       +NY City Health and Hospitals,     PO Box 27137,    New York, NY 10087-7137
14654572       +Radiological Assoc of Frederic,     4718 Carr Dr.,    Fredericksburg, VA 22408-2686
14654573       +Stafford Hospital,    2300 Fall Hill Ave, Suite 101,     Fredericksburg, VA 22401-3342
14654574       +Synergecit Communication,    5450 NW Central #220,     Houston, TX 77092-2061
14654575       +Virginia Hospital Center,    601 S. Carlin Springs Rd,     Arlington, VA 22204-1044

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: jhuang@chadwickwashington.com Dec 27 2018 03:16:10       Jeremy Calvin Huang,
                 CHADWICK WASHINGTON, et al.,   3201 Jermantown Rd.,    Suite 600,    Fairfax, VA 22030
tr             +EDI: FHJGOLD.COM Dec 27 2018 07:58:00      H. Jason Gold,
                 Nelson Mullins Riley & Scarborough LLP,    101 Constitution Avenue, N.W.,     Suite 900,
                 Washington, DC 20001-2133
14654560        EDI: HNDA.COM Dec 27 2018 07:58:00      Honda Finance,    Attn: Bankruptcy,    PO Box 168088,
                 Irving, TX 75016
14654551       +EDI: CKSFINANCIAL.COM Dec 27 2018 07:58:00      CKS FInancial,    PO Box 2856,
                 Chesapeake, VA 23327-2856
14654554       +E-mail/Text: bankruptcy@onlineis.com Dec 27 2018 03:17:56       Consolidated Edison Co of NY,
                 c/o Online Collections,   PO Box 1489,    Winterville, NC 28590-1489
14654555       +E-mail/Text: collect@ccsroanoke.com Dec 27 2018 03:18:19       Creditors Collection Service,
                 Attn: Bankruptcy,   PO Box 21504,    Roanoke, VA 24018-0152
14654557        E-mail/Text: pspitzer@emaonline.com Dec 27 2018 03:17:46       Emergency Medical Associates,
                 20010 Century Blvd,   Suite 200,    Germantown, MD 20874-1118
14654568       +EDI: NFCU.COM Dec 27 2018 07:58:00      Navy Federal Credit Union,    PO Box 3700,
                 Merrifield, VA 22119-3700
14654569       +E-mail/Text: netcreditbnc@enova.com Dec 27 2018 03:18:25       NetCredit,   175 W. Jackson Blvd,
                 Suite 1000,   Chicago, IL 60604-2863
14654571       +E-mail/Text: Bankruptcies@nragroup.com Dec 27 2018 03:18:47       Ponono Med Center,
                 c/o National Recovery Agency,    PO Box 67015,   Harrisburg, PA 17106-7015
14654556        EDI: USBANKARS.COM Dec 27 2018 07:58:00      Elan Financial Service,    Attn: Bankruptcy,
                 4801 Frederica St,   Owensboro, KY 42301
                                                                                               TOTAL: 11

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
14654562        INOVA Alexandria,   2990 Telestar Court,   Falls Church, VA 22042,      Lineburger, Goggan, et al,
                 61 Broadway,   Suite 2600
                                                                                               TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
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                                      Form ID: 309A                      Total Noticed: 36


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 28, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 20, 2018 at the address(es) listed below:
              H. Jason Gold   jason.gold@nelsonmullins.com,
               VA19@ecfcbis.com;jgold@ecf.epiqsystems.com;hjg@trustesolutions.net;robert.ours@nelsonmullins.com;
               lori.stewart@nelsonmullins.com
              Jeremy Calvin Huang   on behalf of Debtor Jason T Nickels jhuang@chadwickwashington.com,
               lwoodward@chadwickwashington.com
              John P. Fitzgerald, III   ustpregion04.ax.ecf@usdoj.gov
                                                                                            TOTAL: 3
